David A. Birdsell, Chapter 7 Trustee 
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                      IN THE UNITED STATES BANKRUPTCY COURT

                               FOR THE DISTRICT OF ARIZONA

In re:                                         )   Chapter 7
                                               )
HARDISON, LIDSEY                               )   Case No. 2:14-bk-01152EPB
                                               )
                                               )   TRUSTEE’S WITHDRAWAL OF
                                               )   TRUSTEE’S NOTICE OF ABANDONMENT
                                Debtor(s)      )
                                               )
                                               )
                                               )
 
        David A. Birdsell, Chapter 7 Trustee, hereby withdraws his motion for abandonment of
the following assets:



TRUSTEE COLLECTED DEBTOR’S STATE TAX REFUND OF $374 THIS AMOUNT IS TOO
SMALL TO ADMINISTER AND TRUSTEE INTENDS TO SEND THESE FUNDS BACK TO
DEBTOR

 

Dated: December 15, 2015                    /s/ David A. Birdsell___________________________
                                            David A. Birdsell, Trustee

 




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